Case 1:13-cv-02009-TWP-MJD Document 99 Filed 06/15/15 Page 1 of 9 PageID #: 744



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


 UNITED STATES and STATE OF INDIANA                  )
 ex rel. JUDITH ROBINSON,                            )
                                                     )
                Plaintiffs/Relator,                  )
                                                     )
        v.                                           )    Case No. 1:13-cv-2009-TWP-MJD
                                                     )
 INDIANA UNIVERSITY HEALTH, INC.,                    )
 f/k/a CLARIAN HEALTH PARTNERS, INC.,                )
 HEALTHNET, INC., and MDWISE, INC.                   )
                                                     )
                Defendants.                          )


                       HEALTHNET, INC.’S BRIEF IN SUPPORT OF
                      MOTION TO DISMISS AMENDED COMPLAINT

        Defendant HealthNet, Inc. (“HealthNet”), by counsel and pursuant to Federal Rules of

 Civil Procedure 9(b) and 12(b)(6), hereby files its Brief in Support of Motion to Dismiss the

 Amended Complaint filed by Plaintiff/Relator Judith Robinson (“Relator”). For the purposes of

 efficiency and judicial economy, HealthNet expressly incorporates by reference the

 Memorandum of Law In Support Motion to Dismiss (“Memorandum”), filed contemporaneously

 herewith by Indiana University Health, Inc. f/k/a Clarian Health Partners, Inc. (“IU Health”).

 (Doc. 97). Except in the few instances identified herein, HealthNet can simply be included in

 references to IU Health in the Memorandum. The arguments, logic, and authorities articulated

 by IU Health establish that all claims asserted against HealthNet also should be dismissed.

        All of Relator’s claims against HealthNet should be dismissed because Relator fails to

 plead her claims with the requisite particularity pursuant to Rule 9(b). Relator’s certification

 theories additionally fail to plead that HealthNet made a false certification to the government.
Case 1:13-cv-02009-TWP-MJD Document 99 Filed 06/15/15 Page 2 of 9 PageID #: 745



 Further, Relator fails to allege that HealthNet certified nurse midwives (“CNMs”) operated

 outside the scope of their licensure. 1 Relator’s conspiracy claims fail because Relator fails to

 plead the existence of an agreement between two or more defendants, let alone the particulars of

 the conspiracy agreement. 2

         Relator’s Anti-Kickback-based claims should be dismissed not only because Relator fails

 to plead them with the required particularity, but also because the kickbacks which Relator has

 alleged fall under the safe harbor provisions of the federal Anti-Kickback Statute. Further, all

 Anti-Kickback -based claims prior to March 23, 2010 must be dismissed because Relator fails to

 allege that HealthNet expressly certified compliance with the Anti-Kickback Statutes or that it

 submitted claims resulting from a violation of the Anti-Kickback Statutes. Indiana’s Anti-

 Kickback Statute, which does not have the safe harbor, is preempted by the federal Anti-

 Kickback Statute.

         Next, Relator’s claims under the federal False Claims Act (“FCA”) and Indiana’s False

 Claims Act (“IFCA”) are partially time barred. A six-year statute of limitations precludes all

 claims for alleged violations which occurred prior to December 19, 2007. In addition, Relator’s

 IFCA claims based upon Medicaid claims submitted after June 30, 2014 are precluded as a result

 of recent amendments to the IFCA.

         Finally, Relator’s retaliation claims must be dismissed because of her failure to plead

 these claims with particularity. In addition, Relator has not alleged that she engaged in protected

 1
    IU Health’s arguments in Section I(B)(2)(b) of the Memorandum regarding Federally Qualified Health Center
 (“FQHC”) payments do not apply to HealthNet because Relator has identified HealthNet as an FQHC. However,
 the other arguments raised herein and in IU Health’s Memorandum still require the dismissal of Relator’s false
 certification claims relating receipt of FQHC payments. Furthermore, IU Health’s arguments in Section I(B)(2)(c)
 of the Memorandum relating to DSH payments do not apply to HealthNet because Relator’s arguments regarding
 these payments are directed solely to IU Health. (Am. Compl., ¶¶ 117, 123).
 2
    IU Health’s arguments in Section I(C)(2) of the Memorandum regarding the intracorporate conspiracy doctrine
 between IU Health and MDwise do not apply to HealthNet.

                                                        2
Case 1:13-cv-02009-TWP-MJD Document 99 Filed 06/15/15 Page 3 of 9 PageID #: 746



 activity in furtherance of a FCA action; that HealthNet had knowledge of this protected activity;

 or that her discharge was motivated by the protected activity. As HealthNet will explain further

 herein, Relator’s IFCA claims against HealthNet also fail because HealthNet was not her

 employer.

        In addition to the reasons supporting dismissal summarized above and fully set forth in

 the Memorandum, HealthNet is submitting this separate brief to address the minor pleading

 differences in Relator’s Amended Complaint between HealthNet and IU Health and to discuss an

 additional reason to dismiss Relator’s IFCA retaliation claim against HealthNet.

        I.     The Few Allegations In Relator’s Amended Complaint That Are Unique To
               HealthNet Do Not Change The Result That All Claims Against HealthNet
               Should Be Dismissed.

        As IU Health indicates in its Memorandum, Relator impermissibly “lumped” HealthNet

 with the other Defendants throughout the Amended Complaint. United States Ex rel. Dolan v.

 Long Grove Manor, Inc., No. 10 C 368, 2014 WL 3583980, at *4 (N.D. Ill. July 18, 2014);

 United States v. Sanford-Brown, Ltd., No. 14-2506, 2015 WL 3541422, at *7 (7th Cir. June 8,

 2015). Conversely, Counts VII or VIII address solely IU Health and MDwise’s alleged failure to

 identify and reject claims for service. HealthNet is not named in Counts VII or VIII and,

 therefore, any related arguments included in IU Health’s Memorandum are not applicable to

 HealthNet. However, there are a few counts and allegations in the Amended Complaint that are

 unique to HealthNet and are addressed below. None of these allegations are sufficient to state a

 viable claim against HealthNet.

        Relator’s Amended Complaint includes a section titled “Nonphysicians are used to treat

 high-risk obstetric patients in HealthNet clinics.” (Doc. 38 (“Am. Compl.”), ¶¶ 55-65). Relator

 alleges that the use of CNMs to treat high-risk patients at HealthNet clinics violates the

                                                 3
Case 1:13-cv-02009-TWP-MJD Document 99 Filed 06/15/15 Page 4 of 9 PageID #: 747



 provisions of the Medicaid Indiana Health Coverage Programs Provider Manual. The allegations

 in this section are similar to the arguments raised in the following section titled “Nonphysicians

 are used to treat high-risk obstetric patients in Methodist Hospital” (Am. Compl., ¶¶ 66-77),

 which IU Health has addressed in the Memorandum. (IU Health Memorandum, pp. 9-10).

        Similar to the other parts of the Amended Complaint, the allegations regarding treatment

 of high-risk patients at HealthNet clinics are fatally deficient due to lack of particularity. The

 allegations are filled with conclusory statements, such as “CNMs . . . knowingly and

 intentionally fail to notify or consult with physicians . . . .” (Am. Compl., ¶ 57). These

 conclusory statements are not even sufficient under Iqbal’s Rule 12(b)(6) requirements, much

 less the heightened Rule (b) pleading requirements. See Ashcroft v. Iqbal, 556 U.S. 662, 129 S.

 Ct. 1937, 1949-50, 173 L. Ed. 2d 868 (2009); Fed. R. Civ. P. 9(b). Relator also includes general

 qualifiers such as “typically” and statements such as “[u]pon information and belief” to describe

 HealthNet’s alleged conduct. (Am. Compl., ¶¶ 58, 64).

        Relator’s allegations fail to include “the identity of the person making the

 misrepresentation, the time, place, and content of the misrepresentation, and the method by

 which the misrepresentation was communicated.” U.S. ex rel. Grenadyor v. Ukrainian Vill.

 Pharmacy, Inc., 772 F.3d 1102, 1106 (7th Cir. 2014). Even the two “examples” that Relator

 provides regarding HealthNet’s allegedly improper conduct are fatally deficient. (Am. Compl.,

 ¶¶ 63, 65). Among other reasons, Relator has failed to identify any specific false claim that

 HealthNet allegedly submitted. “[B]ecause it is the claim for payment that is actionable under

 the Act, not the underlying fraudulent or improper conduct,” “[a]ctual claims must be

 specifically identified” in an FCA relator’s complaint. U.S. ex rel. Lusby v. Rolls-Royce Corp.,

 No. 1:03-CV-0680SEBWTL, 2007 WL 4557773, at *5 (S.D. Ind. Dec. 20, 2007); see also

                                                 4
Case 1:13-cv-02009-TWP-MJD Document 99 Filed 06/15/15 Page 5 of 9 PageID #: 748



 United States v. Reid Hosp. & Health Care Servs., Inc., No. 1:10-CV-0526-JMS-TAB, 2012 WL

 3949532, at *2 (S.D. Ind. Sept. 10, 2012) (holding that a Relator is required to identify “specific

 fraudulent transactions” for each type of alleged fraud). Accordingly, Relator’s claims must be

 dismissed.

        In addition, Relator has included a section titled “HealthNet submits for FQHC payments

 when the provider did not conduct a face-to-face encounter with the patient” and has raised two

 unique Counts (V and VI) against HealthNet relating to these encounters. (Am. Compl., ¶¶ 90-

 97, 136-46). Relator alleges that HealthNet “developed a system” whereby nonphysicians would

 conduct ultrasounds, which would later be reviewed by physicians without having face-to-face

 encounters with the patients. (Am. Compl., ¶¶ 91-92). Relator further alleges that nonphysicians

 administered birth control injections and submitted bills without a face-to-face encounter with a

 physician. (Am. Compl., ¶ 95). Relator alleges that HealthNet, as an FQHC, violated a federal

 regulation and a 2011 Policy Report by seeking reimbursement for these types of encounters.

 (Am. Compl., ¶¶ 45, 97).

        Again, Relator’s claims are deficient. She wholly fails to provide the “who, what, when,

 where and how” of the alleged fraud. U.S. ex rel. Gross v. AIDS Research Alliance-Chicago,

 415 F.3d 601, 605 (7th Cir. 2005). Relator fails to provide a single example of allegedly

 improper claims submitted to the government. This lack of particularity demonstrates that

 Relator has failed to satisfy her Rule 9(b) obligations, and therefore, these and all other claims

 against HealthNet should be dismissed. U.S. ex rel. Fowler v. Caremark RX, L.L.C., 496 F.3d

 730, 741-42 (7th Cir. 2007) (affirming dismissal of FCA claim on Rule 9(b) grounds), overruled

 on other grounds by Glaser v. Wound Care Consultants, Inc., 570 F.3d 907 (7th Cir. 2009).



                                                 5
Case 1:13-cv-02009-TWP-MJD Document 99 Filed 06/15/15 Page 6 of 9 PageID #: 749



         II.      Count X Of Relator’s Amended Complaint For Retaliation Under The
                  Indiana False Claims Act Against HealthNet Should Be Dismissed For The
                  Additional Reason That HealthNet Was Not Relator’s Employer.

         IU Health’s Memorandum provides a multitude of reasons why Relator’s IFCA

 retaliation claims against HealthNet should be dismissed. Additionally, these claims should be

 dismissed because Relator was not an employee of HealthNet. The IFCA provides that “[a]n

 employee who has been discharged, demoted, suspended, threatened, harassed, or otherwise

 discriminated against in the terms and conditions of employment by the employee’s employer

 because the employee [engaged in protected activity] . . . is entitled to relief necessary to make

 the employee whole.” Ind. Code Ann. § 5-11-5.5-8(a) 3 (emphasis added). The IFCA does not

 define the term “employer” as it is used in Ind. Code Ann. § 5-11-5.5-8(a). In the absence of

 explicit statute language to the contrary, this Court should infer that the Indiana General

 Assembly intended the word “employer” to have its “ordinary, common law meaning.” See, e.g.,

 U.S. ex rel. Siewick v. Jamieson Sci. & Eng'g, Inc., 322 F.3d 738, 740 (D.C. Cir. 2003)

 (interpreting word “employer” as used in prior version of 31 U.S.C.A. § 3730(h)); see also Black

 v. Employee Solutions, Inc., 725 N.E.2d 138, 141 (Ind. Ct. App. 2000) (noting that “the term

 employer is a term of art with a distinct meaning at common law”).

         Accepting the allegations in the Amended Complaint as true, Relator admits that “in

 2005, [Relator] signed an employment contract with Clarian Health Partner, Inc., which is the

 3
    As originally enacted, the federal FCA’s anti-retaliation provision provided that “[a]ny employee who is
 discharged, demoted, suspended, threatened, harassed, or in any other manner discriminated against in the terms and
 conditions of his employment by his or her employer because of [protected activity] shall be entitled to all relief
 necessary to make the employee whole.” 31 U.S.C.A. § 3730(h) (emphasis added); False Claim Amendments Act,
 PL 99–562 (S 1562), PL 99–562, October 27, 1986, 100 Stat 3153 (emphasis added). Congress amended the FCA
 in 2009 to expand the scope of 31 U.S.C.A. § 3730(h) to include “[a]ny employee, contractor, or agent.” Fraud
 Enforcement and Recovery Act of 2009, FRAUD ENFORCEMENT AND RECOVERY ACT OF 2009 (FERA), PL
 111-21, May 20, 2009, 123 Stat 1617 (emphasis added). However, the Indiana General Assembly has not similarly
 modified the IFCA’s anti-retaliation provision to track the language of the federal FCA. HealthNet reserves the
 right to challenge whether Relator fell within the scope of the federal FCA’s anti-retaliation provision as amended.

                                                          6
Case 1:13-cv-02009-TWP-MJD Document 99 Filed 06/15/15 Page 7 of 9 PageID #: 750



 former corporate name of IU Health, Inc.” (Am. Compl., ¶ 21; see also ¶ 23 (referring to

 Relator’s “initial contract with Clarian/IU Health”)). The Amended Complaint further asserts

 that “[a]t all times from 2005 until her termination in 2013, [Relator] received her W-2 from IU

 Health (f/k/a Clarian Health Partners, Inc.) and was eligible to participate in IU Health’s group

 health insurance plan, disability insurance plan, and qualified retirement plan.” (Am. Compl., ¶

 13).   Relator further alleges that IU Health ultimately released her from her employment

 contract. (Am. Compl., ¶ 114). Accordingly, there can be no doubt from the allegations in the

 Amended Complaint that Relator was an employee of IU Health, not HealthNet.

        Since Relator was not an employee of HealthNet, HealthNet cannot, as a matter of law,

 be liable as an employer for retaliation under the IFCA. Therefore, Relator’s retaliation claim

 against HealthNet under the IFCA should be dismissed for failure to state a claim upon which

 relief can be granted.

        III.    Conclusion.

        For the reasons stated herein and in the Memorandum in Support of Motion to Dismiss

 filed by IU Health, HealthNet respectfully requests that the Court enter an order dismissing with

 prejudice all claims against HealthNet and granting such further relief the Court deems necessary

 and appropriate.




                                                7
Case 1:13-cv-02009-TWP-MJD Document 99 Filed 06/15/15 Page 8 of 9 PageID #: 751



                                    Respectfully submitted,

                                    /s/ Lauren C. Sorrell
                                    Deborah J. Daniels, Attorney No. 4378-49
                                    Marc T. Quigley, Attorney No. 21054-53
                                    Lauren C. Sorrell, Attorney No. 30895-49
                                    KRIEG DeVAULT LLP
                                    One Indiana Square, Suite 2800
                                    Indianapolis, IN 46204-2079
                                    Telephone: (317) 636-4341
                                    Fax: (317) 636-1507
                                    ddaniels@kdlegal.com
                                    mquigley@kdlegal.com
                                    lsorrell@kdlegal.com

                                    Attorneys for Defendant HealthNet, Inc.




                                       8
Case 1:13-cv-02009-TWP-MJD Document 99 Filed 06/15/15 Page 9 of 9 PageID #: 752



                                  CERTIFICATE OF SERVICE

        I certify that a copy of the foregoing was filed electronically on this 15th day of June,
 2015. Notice of this filing will be sent to the parties by operation of the Court’s electronic filing
 system. Parties may access this filing through the Court’s system.

 David A. Temple                                   Robert E. Saint
 Janet A. McSharar                                 EMSWILLER WILLIAMS NOLAND &
 Marc A. W. Stearns                                CLARKE
 DREWRY SIMMONS VORNEHM, LLP                       rsaint@ewnc-law.com
 dtemple@drewrysimmons.com
 jmcsharar@DSVlaw.com
 mstearns@dsvlaw.com

 Laura A. Hartnett                                 Christopher C. Casper
 Heather M. O’Shea                                 Jillian L. Estes
 Stephen G. Sozio                                  JAMES, HOYER, NEWCOMER &
 JONES DAY                                         SMILJANICH, PA
 lhartnett@jonesday.com                            ccasper@jameshoyer.com
 hoshea@jonesday.com                               jestes@jameshoyer.com
 sgsozio@jonesday.com

 Christopher Jayson                                Jonathan A. Bont
 JAYSON, FARTHING, SKAFIDAS AND                    UNITED STATES ATTORNEY’S OFFICE
 WRIGHT, P.A.                                      Jonathan.bont@usdoj.gov
 cjayson@jfswlaw.com

 W. William Hodes                                  Alan L. McLaughlin
 THE WILLIAM HODES LAW FIRM                        LITTLER MENDELSON, P.C.
 wwh@hodeslaw.com                                  amclaughlin@littler.com

                                                   Lawrence J. Carcare, II
                                                   INDIANA ATTORNEY GENERAL
                                                   Lawrence.Carcare@atg.in.gov


                                               /s/ Lauren C. Sorrell
                                               Lauren C. Sorrell
 KD_7370023_3.docx




                                                  9
